   Case 0:24-cv-62080-MD Document 16-10 Entered on FLSD Docket 12/13/2024 Page 1 of 4




       Video Visitation Center Interruptions Records for
       Inmate Demons,Jamell (801900172)
Date         Visitor Name        Violation Notes
02-15-2019    Chari Williams     Visitor was driving
02-21-2019    Amronik Porter     Visitor was driving
02-23-2019   Christasha Harvey   Visitor Exposed Breasts
03-3-2019    Samone Brooks       Electronic device after being warned
03-09-2019   Alexis Walker       Visitor taking a screen shot with another inmate in picture also.
03-17-2019   Niyah Hewitt        Visitor driving during visit
03-24-2019   Jamie King          Visitor taking pictures of inmate
03-30-2019   Ta’Myiah Miller     Visitor taking “selfies” pictures
04-06-2019   Krystal Borrego     Visitor dancing and standing during visit
04-07-2019   Antonia Rouse       Visitor wasn’t wearing proper dress code “tank top no sleeves.
04-07-2019   Samone Brooks       “called the jail to informed the inmate to tell the registered user that she is
                                 the only one to be on the visit. She keep giving the phone to other people that
                                 is not registered."
01-04-2020   Shevona Pickering   Visitor allowed another person to speak with inmate
01-09-2020   Goldean Smith       Registered Visitor wasn’t present
01-10-2020   Goldean Smith       Showing body parts after second warning
01-11-2020   Shevona Pickering   Visitor present is not the registered user
01-14-2020   Goldean Smith       Registered user didn’t come to the phone after multiple warning
01-19-2020   Malik McDuffie      Inmate allowed another person to visit the visitor
01-19-2020   Brieanna Richards   Visitor was showing pictures from her cell phone
01-26-2020   Angelena Loper      Terminated for handing over to another inmate
01-29-2020   Angelena Loper      Visitor talking to random inmates not Inmate Demons
01-31-2020   Selindia Blair      Visitor showed her butt to Inmate
02-01-2020   Selindia Blair      Showing body
02-02-2020   Sada Pickering      Visitor using another electronic device during session.
02-03-2020   Selindia Blair      Showing underwear and bra
02-05-2020   Michael Beck        Registered user wasn’t present
02-09-2020   Sade Pickering      Registered user didn’t come to visit after multiple warning
02-17-2020   Sade Pickering      Visitor ignored warnings for registered user to be present
02-20-2020   Sade Pickering      Visitor was taking pictures
03-22-2020   Kenjayla Dixon      Visitor showing her body
07-12-2020   Tenesha Hill        Registered user wasn’t present
07-12-2020   Sada Pickering      Visitor showing too much cleavage
07-26-2020   Shevona Pickering   Visitor Terminated for violating rules
   Case 0:24-cv-62080-MD Document 16-10 Entered on FLSD Docket 12/13/2024 Page 2 of 4




07-29-2020   Michael Beck        Visitor was driving
08-03-2020   Sade Pickering      Registered user wasn’t present
08-16-2020   Tenesha Hill        Using a camera or recording device during visit
08-16-2020   Sade Pickering      Registered user wasn’t present
08-18-2020   Sade Pickering      Registered user wasn’t present
08-23-2020   Tenesha Hill        Registered user wasn’t present
08-23-2020   Sade Pickering      Showing body
08-24-2020   Sade Pickering      Registered user wasn’t present
08-26-2020   Michael Beck        Visitor using other device while visiting
08-27-2020   Tenesha Hill        Visitor was showing body
08-29-2020   Sade Pickering      Registered visitor not present
08-31-2020   Kenjayla Dixon      Visitor showing her body
09-11-2020   Selindia Blair      Visitor not following proper dress code
09-13-2020   Kenjayla Dixon      Visitor was terminated for violating rules
09-14-2020   Michael Beck        Registered user not present
09-20-2020   Kenjayla Dixon      “Shaking Butt”
09-20-2020   Michael Beck        Registered user not present
09-20-2020   Shevona Pickering   Showing Body
09-21-2020   Royshenna Dunston   Registered user not present
09-21-2020   Sade Pickering      Registered user not present/driving
09-23-2020   Michael Beck        After 2 warning / registered user not present
09-24-2020   Royshenna Dunston   Visitor violated rules
09-25-2020   Shevona Pickering   Visitor terminated for dresscode
09-30-2020   Ross Obazee         Registered user wasn’t present on visit
09-30-2020   Michael Beck        Registered user not on visit
10-11-2020   Kenjayla Dixion     Visitor violated rules
10-13-2020   Shevona Pickering   Visitor lifted up her shirt
10-16-2020   Royshenna Dunston   Visitor violated rules
11-08-2020   Kenjayla Dixon      Visitor violated rules
11-15-2020   Kenjayla Dixon      Visitor violated rules
11-23-2020   Bryona Courtney     Visit terminated for dress code
11-26-2020   Bryona Courtney     Taking pictures and dress code violation
12-06-2020   Kenya Dixon         Not registered user
12-06-2020   Kenya Dixon         Not the registered user
12-07-2020   Kenya Dixon         Not the registered user
12-13-2020   Kenya Dixon         Not registered user
12-21-2020   Shevona Pickering   Registered user not present
   Case 0:24-cv-62080-MD Document 16-10 Entered on FLSD Docket 12/13/2024 Page 3 of 4




12-22-2020   Shevona Pickering        Registered user not present
12-25-2020   Kenjayla Dixon           Visitor violated rules
12-26-2020   Kenya Dixon              Not the registered user
12-27-2020   Kenya Dixon              Visitor driving and is not the registered user
12-27-2020   Kenya Dixon              Not the registered user
01-17-2021   Bryona Courtney          Visit violated rules
01-24-2021   Soraya Sims              Inmate Refused Visit per Housing
01-25-2021   Kenjayla Dixon           Visit terminated for violation of dress code
02-07-2021   Soraya Sims              Inappropriate behavior
02-09-2021   Kenjayla Dixon           Visit terminated for violating rules
02-09-2021   Kenjayla Dixon           Other Inmates in the visit
02-10-2021   Victor Harris            Visitor violated rules
02-11-2021   Victor Harris            Registered user not present
02-12-2021   Victor harris            Visitor Violated Rules
02-13-2021   Kenjayla Dixon           Inmate disrupting unit
02-14-2021   Fujiyama Rice            Violated rules
02-15-2021   Fujiyama Rice            Inappropriate pictures
02-21-2021   Bryona Courtney          Violated rules
02-28-2021   Cecilee Fields           Using a camera or recording device/ violated rules
03-05-2021   Bryona Courtney          Violated rules
03-07-2021   Christopher Jean-Louis   Termination for dresscode
03-15-2021   Bryona Courtney          Terminated for dress code
03-16-2021   Shevona Pickering        Violated Rules
03-20-2021   Finesse Shelton          Registered user not present
03-28-2021   Christopher Jean-Louis   Registered user not present
03-29-2021   Bryona Courtney          Nonregistered user
04-04-2021   Finesse Shelton          Registered user not present
05-04-2021   Raven Liberty            Attorney was smoking and other people were on the call
06-29-2021   Kenjayla Dixion          Smoking
07-01-2021   Victor Harris            Showing pictures from another cell warned twice
07-08-2021   Michael Beck             Not registered user
07-09-2021   Tahyana Jones            Handing phone over to another I/M
07-13-2021   Bryona Courtney          Violating Rules
07-14-2021   Bryona Courtney          Driving while on video visit
07-15-2021   Bryona Courtney          Driving while on Video visit
07-17-2021   Bryona Courtney          Registered user not present
07-17-2021   Shaziah Fook             Dress code
   Case 0:24-cv-62080-MD Document 16-10 Entered on FLSD Docket 12/13/2024 Page 4 of 4




07-18-2021   Shevona Pickering   Cellphone
07-23-2021   Kenjayla Dixon      Visitor Suspended therefore terminated visit
07-24-2021   Shaziah Fook        Registered user not present
07-29-2021   Kenjayla Dixon      Smoking
08-07-2021   Shazaih Fook        Showing explicit photos
08-09-2021   Victor Harris       Violated rules
08-17-2021   Jamie King          Taking Pictures
